                                                                  Case 2:25-ap-01020-NB              Doc 47-1 Filed 05/14/25 Entered 05/14/25 08:53:59   Desc
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                                                                    2 Jeffrey P. Nolan (CA Bar No. 158923)
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                                                                    7 Counsel to Bradley D. Sharp,
                                                                      Chapter 11 Trustee
                                                                    8
                                                                                              UNITED STATES BANKRUPTCY COURT
                                                                    9
                                                                                               CENTRAL DISTRICT OF CALIFORNIA
                                                                   10
                                                                                                    LOS ANGELES DIVISION
                                                                   11
                                                                      In re                                      Case No. 2:23-bk-10990-NB
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                   12
                                                                      LESLIE KLEIN,                              Chapter 11
                                                                   13
                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




                                                                                    Debtor.
                                                                   14

                                                                   15 BRADLEY D. SHARP, Chapter 11 Trustee,                   Adv No. 2:25-ap-01020-NB
                                                                   16                       Plaintiff,                        CERTIFICATE OF SERVICE
                                                                   17             v.
                                                                   18 LIFE CAPITAL GROUP, LLC, a limited
                                                                      liability company, SHLOMO Y.
                                                                   19 RECHNITZ, individually and as a member
                                                                      of LIFE CAPITAL GROUP, LLC,
                                                                   20 YISROEL ZEV RECHNITZ, an individual,
                                                                      CHAIM MANELA, an individual,
                                                                   21 JONATHAN POLTER, an individual and as a
                                                                      manager of LIFE CAPITAL GROUP, and
                                                                   22 SECURITY LIFE OF DENVER LIFE
                                                                      INSURANCE COMPANY,
                                                                   23
                                                                                     Defendant.
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                                                                    1 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                                                        address is:
                                                                    2                                One Sansome Street, Suite 3430, San Francisco, CA 94105.

                                                                    3 A true and correct copy of the foregoing document entitled (specify):

                                                                    4 •           THIRD STIPULATION TO CONTINUE RESPONSE DATE FOR DEFENDANT
                                                                                  SECURITY LIFE OF DENVER LIFE INSURANCE COMPANY
                                                                    5
                                                                        served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
                                                                    6 (b) in the manner stated below:

                                                                    7 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
                                                                        controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
                                                                    8 hyperlink to the document. On (date) May 14, 2025, I checked the CM/ECF docket for this bankruptcy case
                                                                        or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
                                                                    9 receive NEF transmission at the email addresses stated below:

                                                                   10
                                                                                                                                    Service information continued on attached page
                                                                   11
                                                                        2. SERVED BY UNITED STATES MAIL: On (date) ____________, I served the following persons and/or
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                   12 entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and
                                                                        correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
                                                                   13 addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




                                                                        completed no later than 24 hours after the document is filed.
                                                                   14

                                                                   15                                                               Service information continued on attached page

                                                                   16
                                                                        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
                                                                   17 (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
                                                                        May 14, 2025, I served the following persons and/or entities by personal delivery, overnight mail service, or
                                                                   18 (for those who consented in writing to such service method), by facsimile transmission and/or email as
                                                                        follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
                                                                   19 judge will be completed no later than 24 hours after the document is filed.

                                                                   20       Served Via Email:
                                                                            John T. Burnite, Esq.
                                                                   21       McDowell Hetherington LLP
                                                                            Email: john.burnite@mhllp.com
                                                                   22

                                                                   23
                                                                                                                                    Service information continued on attached page
                                                                   24
                                                                        I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
                                                                   25

                                                                   26      May 14, 2025                         Oliver Carpio                  /s/ Oliver Carpio
                                                                           Date                                 Printed Name                   Signature
                                                                   27

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                                                                    1 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
                                                                            Case 2:25-ap-01020-NB
                                                                    2
                                                                        •    Michael G D'Alba        mgd@lnbyg.com
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                                                                        •    Matthew A Lesnick        matt@lesnickprince.com, matt@ecf.inforuptcy.com;jmack@lesnickprince.com
                                                                    6
                                                                        •    John W Lucas       jlucas@pszjlaw.com, ocarpio@pszjlaw.com
                                                                    7 •      Matthew D. Resnik matt@rhmfirm.com,
                                                                             roksana@rhmfirm.com;sloan@rhmfirm.com;nina@rhmfirm.com;david@rhmfirm.com;priscilla@rhmfirm.com;g
                                                                    8        abriela@rhmfirm.com;rosario@rhmfirm.com;rebeca@rhmfirm.com;LA@rhmfirm.com
                                                                    9 •      Bradley D. Sharp (TR)      bsharp@dsi.biz
                                                                        •    Nikko Salvatore Stevens      nikko@cym.law, eService@cym.law,karen@cym.law
                                                                   10
                                                                        •    United States Trustee (LA)     ustpregion16.la.ecf@usdoj.gov
                                                                   11 •      Beth Ann R. Young        bry@lnbyg.com, bry@lnbyb.com
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                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




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